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                          IN THE T]NITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITEDSTATESOFAMERICA                         :
                                                      INFORMATION FILED
                                              :       UNDERSECTIONSST OF
             v.                                       TITLE 2I, U.S.C., RELATING
                                              :       TO CRIMINAL CASE #14-516
NATHANIEL DA-MEIR COLES,                              FILED ON SEPTEMBER 25,2OI4
    a/k/a "Big Bat'

                         INFORMATION CTIARGING PRIOR OFF'ENSE

                  Zane David Memeger, United States Attomey for the Eastem District     of

Pennsylvania, hereby accuses this defendant, who was charged on September 25. 2014, in the

Eastem District of Pennsylvania, with one count ofconspiracy to distribute 500 grams or more      of

cocaine and other drug traffrcking-related charges, in violation   of21 U.S.C. $$ 846 and 843(b), of

having previously been convicted as described below:

                  l.     On or about February 13,2007. in the Delaware County Court of Common

Pleas. Pennsylvania. the defendant was convicted   ofthe felony offense of manufacture/

deliver/possess with intent to manufacture or deliver a controlled substance (cocaine), which is a

violation of Pennsylvania Criminal Statute Pa. CSA 35 $ 780-113, a felony under the laws ofthe

State ofPennsylvania, arising out   ofan offense that took place on July   18, 2006 (Docket No.


cP-23-CR-0007578-2006).

                                              ZANE DAVID MEMEGER
                                                ited States Attomey


                                              PETER F. SCHENC
                                              Chief, Criminal Division
                                              Assistant United States Attomey
Filed:   $ 6 2dU
